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UN|TED STATES D|STR|CT COURT
MIDDLE DISTR|CT OF FLORIDA _
TAMPA DEVIS|ON "`"`~

uNlTEo sTATES OF AMERicA :"
"C"'-‘t_,' -, .
v. cAsE No. szo?-cR_ L/B 5" ' § _?, »n/_i;,@` -'
13 u.s.c. § 371
Wii_LlAM GARY suLLivAi\i 1a u.s.c. § 1030(3)(2)(A)&(c)

18 U.S.C. § 981(a)(1)(c)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(€:)
|NFORMAT|ON
The United States Attorney charges:

COUNT ONE
(Conspiracy - 18 U.S.C. § 371)

A. introduction
At al| times material to this lnformation:

1. Pine|ias County was located Whol|y Within the N|iddle District of F|orida.

2. Fide|ity Nationa| Information Services, |nc. (“F|DELlTY”) was a consumer
reporting agency Within the meaning ofTit|e 15, United States Code, Section
1681a(f).

3. Certegy Checl< Services, Inc. ("CERTEGY") was a Who||y owned subsidiary of
Fidelity_

4. Fide|ity Nationai Card Services. lnc. (“CARD SER\/|CES") Was also a Whol|y
owned subsidiary of Fide|ity.

5. Fide|ity, Certegy and Card Services maintained databases that contained
consumer information within the meaning of consumer reports as defined by Title

15, United States Code, Section 1681a(d).

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Moreover, said databases were accessed through and maintained upon
protected computers as defined by Tit|e 18, United States Code, Section
1030(e)(2).
Defendant Wil|iam Gary Su||ivan (“SULL|VAN") was employed by Fide|ity through
Certegy and Card Services as a database analyst.
As a database analyst, Su||ivan had access to consumer information in Fide|ity,
Certegy and Card Services's databases.
The consumer information in Fide|ity, Certegy and Card Services's databases
included the consumer's address. Often the consumer information also included
the consumer’s bank account information, credit card information, debit card
information, or some combination of bank account, credit card, and debit card
information,
B. The Consgiracy

Between in or about February 2002 through in or about August 2007, in Pine|las
County, in the Middle District of F|orida and elsewhere, the defendant,

WlLLlAM GARY SULL|VAN,
herein, with others known and unknown, did unlawfu||y, willfully and knowingly
conspire, combine, confederate, and agree with one another and with other
individuals known and unknown to commit offenses against the United States, to
wit:
(1) fraud and related activity in connection with computers, in violation of 18

u.s.c. § 1030(3)(2)(/\),1030(e)(2)(c) and 1030(e)(2)(e)(i).

10.

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C. The Manner and Means

The manner and means by which the conspirators sought to accomplish the

objects of the conspiracy includedl among others:

(3)

(b)

(C)

(€)

lt was a part of the conspiracy that defendant, WlLLlAM GARY
SULL|VAN, would and did fraudulently steal consumer information from
Fide|ity, Certegy and Card Services's databases;

|t was further part of the conspiracy that another conspirator would and
did pay the defendant who stole the consumer information for that stolen
information;

lt was further a part of the conspiracy that the defendant would and did
fraudulently form a front corporation through which the consumer
information was sold to the co-conspirator; and

lt was further a part of the conspiracy that the conspirators would and did
conduct these activities in a manner calculated to conceal and cover up
the fraudulent and unlawful nature of the scheme.

lt was further part of the conspiracy that the conspirators would and did
fraudulently resell the stolen information to third-party direct marketers;

D. Overt Acts

|n furtherance of the conspiracy, and to effect the objects thereof, the following

overt acts among others, were committed in the Midd|e District of F|orida, and

elsewhere:

(1)

On February 2, 2002, Su||ivan incorporated S & S Computer Services,

|nc.l with the State of F|orida.

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(2) Payments in the form of checks were issued for the stolen consumer data
and accepted by S&S Computer Services, lnc.l examples of which are set

forth as overt acts, below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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A 1112 04/2§@3 $3,000.00 uscs

B 1114 04/29/03 $3,340.00 usi services
C 1115 05/§;03 $ 7,350.00 Lists

D 1116 05/30/03 $4,275.00 uscs

E 1117 06/09/03 $3,000.00 Lists

F 1118 @16/03 $5,500.00 Lists

G 1120 06/20/03 $2,450.00 Lists

H 1121 07/07/03 $2,280.00 Lists

l 1124 07/15/03 $7,000.00 Leads

J 1126 07/23/03 $5,000.00 For Lists

K 1125 07/28/03 $500.00 Ba|ance from 190,000
L 1127 08/18/03 $5,750.00 130,000 Leads
M 1128 09/03/03 $10221.00 Lists

N 1129 09/05/03 $3,300.00 Lists

O 1132 10/06/03 $8,065.35 Lists (Sept)

P 1134 10/31/03 $8,258.00 Lists

Q 1002 01/08/04 51,417.00 Lists

R 1005 02/02/04 $9,906.50 Lists

S 1006 02/23/04 s9,922.50 Lists

T 1007 03/19/04 $7,500.00 Leads

U 1009 04/16/04 $7,262.00 Leads

V 1011 05/12/04 $4,000.00 Lists services
W 1010 05/11/04 $4,000.00 Lists

X 1013 06/11/04 $ 7,600.00 Lists

Y 1016 07/08/04 $8,250.00 Lists

Z 1020 08/16/04 $8,000.00 ust services
AA 1026 09/17/04 ss,600.00 Lists
AB 1027 10/01/04 $7,600.00 Lists
Ac 1028 11/01/04 $8,850.00 usi
AD 1030 11/26/04 $9,420.00 Lists 0167-0170
AE 1157 12/27/04 $15,700.00 Lists toecember)
AF 1161 01/21/05 s15,750.oo oec-ian Lists
AG 1169 02/17/05 $9,138.00 Lists 0178-0181
AH 1178 03/18/05 $8,585.00 Lists Services
Al 1188 04/15/05 $7,500.00 March & Aprii

 

 

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AJ 1212 06/03/05 $12,770.00 For List 0191-0197
AK 1218 07/07/05 $7,645.00 usc 0198-0201
AL 1225 08/10/05 $8,500.00 0202-0206 Lists
AM 1237 09/09/05 $8,600.00 usc 0207-0210
AN 1244 10/03/02 $8,670.00 0211-0214

AO 1252 11/06/05 $8,300.00 Lists 0215-0218
AP 1263 12/03/05 $Q450.00 Lists 0219-0222
AQ 1272 12/30/05 $11,000.00 uscs services
AR 1289 02/03/06 $10,500.00 Lists 0228-0231
AS 1294 os/Y/os $10,150.00 For Lists 0233-0236
AT 1302 03/24/06 $9,500.00 0236-0239

AU 1306 04/21/06 $9,400.00 0240-0243

AV 1316 05/17/06 311,850.00 0243-0246
AW 1337 06/20/06 $11,600.00 0248~0251

AX 1344 07/17/06 512,000.00 0251-0254

AY 1358 08/11/06 $10,800.00 0255~0258

AZ 1374 09/11/06 $10,850.00 0258-0262

BA 1389 10/09/06 $101000.00 02640267

BB 1399 11/10/06 $13,750.00 0269-0972 para riles
BC 1405 12/08/06 $15,750.00 Lists 0273-0276
BD 1419 01/13/07 $3,500.00 0279-0281

BE 1416 01/12/07 $6,000.00 0278_0281

BF 1424 02/12/07 $13,500.00 uscs services 0282-0285
BG 1432 03/16/07 $18,350.00 0287~0290

BH 1439 04/06/07 s17,350.00 March

BI 1447 05/14/07 s14,000.oo

BJ 1453 06/07/07 $9,375.00 Data Tech Support
BK 1454 06/11/07 $7,950.00 Data Services

 

 

A|| in violation of Tit|e 18, United States code, Section 371.

QQ_lM
(Fraud and related activity in connection with computers - 18 U.S.C. § 1030(a)(2)(A) and (C))

Between in or about February 2002 through in or about August 2007, in Pine|las
County, in the Midd|e District of F|orida and elsewhere, the defendant,

WlLLlAM GARY SULL|VAN,
herein, with others known and unknown, did unlawfully and intentionally access a

computer without authorization and exceed authorized access and thereby

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obtain information contained in a file of a consumer reporting agency on a
consumer and information from any protected computer where the conduct
involved an interstate or foreign communication, and committing the offense for
purposes of commercial advantage or private commercial gain.

All in violation of Title 18, United States Code, Sections 1030(a)(2)(A)&(C),

1030(e)(2)(e)(i), end 2.

1.

FORFE|TURES
The allegations contained in Counts One and Two of this information are hereby
realleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to the provisions of Title 18, United States Code, Section 981(a)(1)(C)
and Title 28, United States Code, Section 2461 (c).
From his engagement in any and all violations alleged in Count One of this
information, related to conspiracy, in violation of Title 18, United States Codel
Section 371, and Count Two of this information, related to fraud and related
activity in connection with computers, in violation of Title 18, United States Code,
Sections 1030(a)(2)(A), 1030(a)(2)(C), 1030(e)(2)(B)(i), and 2. the defendantl
WlLLlAl\/i GARY SULL|VAN, shall forfeit to the United States of America,
pursuant to Title 18, United States Code, Section 981 (a)(1 )(C) and Title 28,
United States Code, Section 2461(c), all of his interest in any property real or
persona|, which constitutes or is derived from proceeds obtained directly or
indirectly as a result of such offense.
lf any of the property described above, as a result of any act or omission of the

defendant:

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a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided

without difhcu|ty,
the United States of America shall be entitled to forfeiture of substitute
property under the provisions of Title 21, United States Code, Section 853(p), as

incorporated by Title 28, United States Code, Section 2461(0).

ROBERT E. O'NE|LL
United States Attorney

 

ttorney

 

By:

 

LR©BERT iviosr€<owski
Assistant United States Attorney
Chief, Tampa Diyision

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